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 9                               IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                      )   Case No.: S-07-165-LKK
12   UNITED STATES OF AMERICA,                        )
                                                      )   AMENDED STIPULATION AND ORDER
13                  Plaintiff,                        )   TO CONTINUE STATUS CONFERENCE
                                                      )
14        vs.                                         )   Date: June 16, 2009
     DANIEL ROSALES, et al,                           )   Time: 9:15 a.m.
15                                                    )   Judge: Lawrence K. Karlton
                    Defendant                         )
16                                                    )
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18          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Status
19   Conference hearing scheduled for June 16, 2009 at 9:15 a.m. be continued to June 23, 2009 at
20   9:15a.m.in the same courtroom. Samuel Wong, Assistant United States Attorney, and Philip
21   Cozens, Defendant’s attorney, are requesting such continuance in order to conclude changes
22   being made in the plea agreement.
23          It is further stipulated that Defendant need not appear in Court on June 16, 2009, but must
24   appear on June 23, 2009.
25          It is further stipulated that the period from the date of this stipulation through and
26   including June 23, 2009, be excluded in computing the time within which trial must commence
27   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for
28   continuity and preparation of counsel.




                                      STIPULATION AND ORDER           -1-
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 1         IT IS SO STIPULATED.
 2   DATED: June 12, 2009                      By:          /s/ Philip Cozens_______
                                                            PHILIP COZENS
 3                                                          Attorney for Defendant
                                                            BRENDA ALEXANDER
 4

 5
     DATED: June 12, 2009                                   LAWRENCE G.BROWN
 6                                                          United States Attorney
 7                                              By:          /s/ Samuel Wong
                                                            SAMUEL WONG
 8                                                          Assistant U.S. Attorney
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13                                IT IS SO ORDERED.
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     Dated: June 16, 2009
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                             STIPULATION AND ORDER    -2-
